
22 Ill. App.2d 535 (1959)
161 N.E.2d 347
Richard Grill, a minor, by Joseph Grill, his father and next friend, Appellant,
v.
Joyce Bradley, Appellee.
Gen. No. 47,621.
Illinois Appellate Court  First District, First Division.
September 14, 1959.
Released for publication October 19, 1959.
George F. Kruse (Harold S. Iglow, of counsel) for appellant.
Beverly and Pause (Frank J. Pause, of counsel) for appellee.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE DEMPSEY.
Judgment affirmed.
Not to be published in full.
